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 7
                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11
                                                                   CASE NO. CR02-374C
             v.
12
      CARLOS GARIBAY DEL TORO and                           ORDER TO CONTINUE PRE-TRIAL
13
      MAXIMILIANO VIDAL-MEDINA,                             MOTIONS DEADLINE AND TRIAL DATE
14

15                           Defendants.

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            This matter having come before the Court on the Government’s motion to continue the trial date
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     from November 28, 2005 to December 19, 2005 (Dkt. No. 636; Dkt. No. 656), and the Court having
20
     considered the arguments presented by all parties, together with the balance of the records and files
21
     herein, this Court now finds as follows:
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23          The current trial date is November 28, 2005 and the current motions cut-off date is October 27,

24   2005. Those dates were scheduled by Order of this Court (Dkt. No. 638) pursuant to a request for a

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26   ORDER – 1
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 1   continuance by Defendant Carlos Garibay Del Toro (Dkt. No. 628) and a nonopposition by Defendant

 2   Maximiliano Vidal-Medina (Dkt. No. 634).
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            In light of the involvement of the lead attorney for the Government in this case (Douglas B.
 4
     Whalley) in another case that has a two- to three-week trial beginning November 29, 2005, the
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     Government requested a further trial continuance in this matter to December 19, 2005 to preserve
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     continuity of government counsel (see Dkt. No. 636). Mr. Whalley, though not the only prosecutor
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     involved in this case, is the most familiar with it. He conducted the wiretap, prepared the indictment and
 8

 9   the search warrants, and tried the only other co-defendant to go to trial, Jorge Esquivel-Ortega. Mr.

10   Whalley withdrew his request to continue after some discussion about the trial date with both defense

11   counsel (Dkt. No. 654), but then renewed the request after all three parties agreed to December 19, 2005

12   as an acceptable trial date (Dkt. No. 656).
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            Defendant Carlos Garibay Del Toro is in agreement with the proposed continuance to December
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     19, 2005 (Dkt. No. 645; Dkt. No. 657), and he has signed a speedy trial waiver through December 31,
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     2005 (Dkt. No. 645). Defendant Maximiliano Vidal-Medina is also in agreement with the proposed
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     continuance to December 19, 2005 (Dkt. No. 655), and he has signed a speedy trial waiver through
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     February 1, 2006 (Dkt. No. 653).
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19          The new proposed date of December 19, 2005 for the trial does not appear to prejudice any party.

20   The Court finds that failure to grant the requested continuance likely would result in a miscarriage of
21   justice. The Court further finds that the interests of the public and the Defendants in a speedy trial in this
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     case are outweighed by the ends of justice.
23
     Accordingly, IT IS HEREBY ORDERED THAT:
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26   ORDER – 2
            Case 2:02-cr-00374-JCC         Document 658       Filed 10/11/05      Page 3 of 3



 1          The pre-trial motions cut-off date shall be extended to November 10, 2005, with a new trial date

 2   of December 19, 2005. The time between the date of this Order and the new trial date shall be
 3
     excludable time under the Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(i),
 4
     and 3161(h)(8)(B)(iv).
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            SO ORDERED this 11th day of October, 2005.
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                                                         A
                                                         John C. Coughenour
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                                                         United States District Judge
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26   ORDER – 3
